Case 22-55949-pwb       Doc 15    Filed 08/19/22 Entered 08/19/22 15:22:48            Desc Main
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   IT IS ORDERED as set forth below:



   Date: August 19, 2022
                                                        _________________________________

                                                                  Paul W. Bonapfel
                                                            U.S. Bankruptcy Court Judge
 _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN THE MATTER OF:                                   :      CASE NUMBER:22-55949-PWB
                                                    :
J. MARIEH PRICE,                                    :      CHAPTER 13
Aka J.M. Price; Marieh Price,                       :
       Debtor.                                      :       JUDGE BONAPFEL

                ORDER ON APPLICATION FOR EXTENSION OF TIME

       The Debtor has filed with the court a Motion for Additional Time Schedules, (Doc No.

14), for filing the remaining outstanding documents. The 341 Meeting of Creditors is scheduled

for September 16, 2022, at 12:30 P.M.


       IT IS THE ORDER OF THE COURT that the Debtor shall have until Friday,

September 9, 2022, to file the remaining documents in the above-styled bankruptcy case.


         The Clerk is directed to serve a copy of this Order on Debtor, Trustee and U.S. Trustee.


                                        END OF ORDER
